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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   LEXINGTON

      UNITED STATES OF AMERICA                     )
                                                   )
            Plaintiff,                             )         No. 13-CR-66-DCR-REW-2
                                                   )
      v.                                           )
                                                   )      RECOMMENDED DISPOSITION
      ALIYA RAE ADAMS,                             )
                                                   )
            Defendant.                             )

                                    *** *** *** ***

           Defendant Aliya Rae Adams, by counsel, moves to suppress evidence obtained

  from her residence pursuant to a state search warrant.1 DE #49 (Motion). Specifically,

  Adams contends that the search warrant affidavit lacked sufficient information to support

  a probable cause finding. DE #49-1 at 3 (Memorandum in Support of Motion to

  Suppress). Adams further contends that incriminating statements she made to law

  enforcement following the search must be suppressed as fruit of the poisonous tree. Id. at

  6. Adams argues that the good faith exception to the exclusionary rule articulated by the

  Supreme Court in United States v. Leon, 104 S. Ct. 3405 (1984), does not apply. DE

  #49-1 at 7.




  1
    The motion has been submitted to the undersigned for a recommendation pursuant to
  the District Judge’s Standing Referral Order for criminal actions. DE #10 (Standing
  Referral Order).


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         The United States filed a response in opposition to the motion. DE #58

  (Response). Defendant replied. DE #63 (Reply). Because the motion calls for “four

  corners” review of the warrant documents, the Court did not hold an evidentiary hearing.2

         Having reviewed the briefs submitted by counsel, as well as the subject warrant

  and affidavit, the Court recommends that the District Court DENY the motion to

  suppress. A substantial basis supported warrant issuance, and, in any event, the

  exclusionary rule does not apply under current standards.

  I.     Background

         On March 14, 2013, Detective Jared Curtsinger with the Lexington Division of

  Police executed a search warrant for the person and residence of Robert Earl Jones, one

  of Adams’s co-defendants in the instant matter. Detective Curtsinger had been

  investigating Jones for trafficking heroin. In executing the search warrant, Curtsinger

  recovered heroin from Jones’s person. Jones immediately began cooperating with law

  enforcement, stating that he had purchased the heroin from Defendant at her residence in

  the Preakness Apartments on Versailles Road. Based on Jones’s statements, as well as

  other corroborating information, Detective Curtsinger submitted an affidavit to search

  Defendant’s residence and person. Curtsinger made the application and got the warrant

  on the same day he searched Jones. The affidavit contained the following averments by

  affiant Curtsinger:

                On 03-14-2013 the affiant set out to execute a search warrant at
         2408 Elderberry Court, Apartment 3. The search warrant was also for a
         suspected heroin dealer identified as Robert Jones. Prior to executing the
         search warrant the affiant was able to observe that Robert Jones [sic]
         vehicle was parked in the parking lot of 1724 Versailles Road which the
  2
   Additionally, the parties agreed that a hearing was not necessary. See DE ##53, 54.
  Assessment for probable cause encompasses only the warrant application materials. See
  United States v. Jackson, 470 F.3d 299, 306 (6th Cir. 2006).

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       affiant knows to be the Preakness Apartment Complex. The affiant
       observed that the vehicle only remained at Preakness Apartments for
       approximately five minutes. The affiant then observed that Jones left that
       location and drove directly to his residence at 2408 Elderberry Court. The
       affiant and other Detectives were waiting for Jones to arrive and when he
       did he was detained and the search warrant was executed. Jones was
       found to have an ounce of heroin in his jacket pocket. Jones advised that
       he wanted to cooperate with the investigation and advised that he had just
       purchased the heroin at the Preakness Apartments for $3000.00. Jones
       advised that he was had [sic] been buying large quantities of heroin from a
       group in Lexington for several months. Jones advised that when he made
       contact with his source on this date to purchase an ounce of heroin, the
       source advised him to go to the girl that Jones knows as “Aliya’s”
       apartment to purchase the heroin. Jones advised that he had been to the
       apartment on a previous date and knew which apartment he was referring
       to.
               Jones advised that he went to the apartment which is at the
       Preakness Apartments just prior to us arresting him and went inside the
       apartment on the left at the top of the stairs. He advised that he provided
       the “Aliya” subject with the $3000.00 cash and that she provided him with
       the one ounce of heroin. He advised that “Aliya” is a biracial female in
       her thirties. He advised that there were children present in the apartment
       during the transaction. He advised that the “Aliya” subject drives a silver
       Monte Carlo passenger car that was parked in the parking lot when he was
       there.
               The affiant escorted Jones to the Preakness Apartments in an
       undercover police car. Jones directed the affiant to the back of the
       apartment complex and pointed out Building B as the building that the
       suspects [sic] apartment was located. The affiant went inside the common
       entry door with Jones and Jones pointed out Apartment B215 as the
       apartment that he had purchased the heroin from earlier this date which he
       had on his person when he was confronted by the affiant. Jones also
       pointed out a silver Monte Carlo passenger car that was parked in front of
       the building. He advised the affiant that the car was the car that belonged
       to the “Aliya” subject. The vehicle had a vehicle registration plate of
       182FWS. The vehicle was registered to Aliya Adams at 1724 Versailles
       Road Apartment B215. The affiant was also able to locate a photograph
       of Aliya Adams and showed it to Jones. Jones advised that the female in
       the photograph was the subject he knew as “Aliya” and the female subject
       that sold him the ounce of heroin at her apartment within the last two
       hours. The affiant also located in police computers where Adams list [sic]
       her address on her Kentucky Drivers License as 1724 Versailles Road,
       Apartment B215, Lexington, KY. The affiant also located where Adams
       was convicted of Possession of Marijuana in 2003, 2004, 2007, and 2010.
               Based on the information received during the investigation and the
       follow-up investigation conducted by the affiant the affiant believes that


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         evidence of narcotics use, possession, or trafficking will be found upon
         immediate search of the property located at 1724 Versailles Road,
         Apartment B215, Lexington, Kentucky.

  DE #49-3; DE #58-2.

         After reviewing Detective Curtsinger’s affidavit, Fayette District Court Judge Joe

  Bouvier issued the requested search warrant for Adams’s person and premises. DE #49-

  3; DE #58-2. Law enforcement executed the search warrant late in the afternoon on

  March 14. DE #49-3; DE #58-2. In Defendant’s residence, per the briefing, law

  enforcement found and seized numerous items of drug paraphernalia, heroin, cutting

  agents, and other items. DE #49-1 at 2. Additionally, Defendant made incriminating

  statements to Detective Curtsinger, who subsequently arrested her. Id.

         On May 3, 2013, a federal grand jury in this District indicted Adams, Jones, and

  Eric Dawayne Jackson on heroin trafficking charges. DE #1 (Indictment). Counts 1, 2,

  3, and the forfeiture count of the Indictment apply to Adams. Id. Count 1 charges

  Adams with conspiracy to distribute 100 grams or more of a mixture of substance

  containing a detectable amount of heroin, a Schedule I controlled substance, in violation

  of 21 U.S.C. §§ 841(a)(1) and 846. DE #1. The alleged conspiracy occurred in Fayette

  County from November 2012 to March 2013. Id. Counts 2 and 3 charge Adams with

  possession with intent to distribute heroin and distribution of heroin, respectively. Id.

  The conduct in Counts 2 and 3 allegedly occurred on March 14, 2013. Id. After Adams

  was taken into federal custody and arraigned, she timely filed the motion to suppress

  pending before the Court.




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  II.    Analysis

         A.      The Search and Warrant Validity

         The Fourth Amendment mandates that “no Warrants shall issue, but upon

  probable cause, supported by Oath or affirmation.”3 U.S. CONST., amend. IV. Probable

  cause consists of “reasonable grounds for belief, supported by less than prima facie proof

  but more than mere suspicion.” See United States v. Bennett, 905 F.2d 931, 934 (6th Cir.

  1990). To determine probable cause, an issuing magistrate must examine the totality of

  the circumstances and find “a ‘fair probability’ that evidence of a crime will be located

  on the premises of the proposed search.” See United States v. Jenkins, 396 F.3d 751, 760

  (6th Cir. 2005) (quoting United States v. Bowling, 900 F.2d 926, 930 (6th Cir. 1990)). A

  supporting affidavit must sufficiently demonstrate the existence of a “nexus between the

  place to be searched and the evidence sought” United States v. Carpenter, 360 F.3d 591,

  594 (6th Cir. 2004) (quoting United States v. Van Shutters, 163 F.3d 331, 336-37 (6th

  Cir. 1998)).

         When evaluating whether a warrant application presented probable cause, a

  reviewing court must accord “great deference” to the issuing judicial officer’s

  determination. See United States v. Coffee, 434 F.3d 887, 892 (6th Cir. 2006). Such

  deference ensures than “an issuing [judge’s] discretion [will] only be reversed if it was

  arbitrarily exercised.” See United States v. Allen, 211 F.3d 970, 973 (6th Cir. 2000). The
  3
    Adams’s brief includes a reference to the Kentucky Constitution. Neither side develops
  any independent state theory, and Kentucky treats the relevant state provision as
  coterminous with the Fourth Amendment. See Dunn v. Commonwealth, 360 S.W.3d 751,
  758 (Ky. 2012) (noting that the Kentucky Supreme “Court has consistently held that the
  protections of Section 10 of the Kentucky Constitution are no greater than those of the
  federal Fourth Amendment”); Sigler v. Commonwealth, 2010 WL 5018160, at *2 (Ky.
  App. Dec. 10, 2010) (“Kentucky courts interpret Section Ten of the Kentucky
  Constitution as consonant with the Fourth Amendment and, thus, it provides the same
  scope of protections as its federal counterpart.”).

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  reviewing court must uphold the issuing judge’s probable cause determination if a

  “substantial basis” existed for the judge to conclude “that a search would uncover

  evidence of wrongdoing.” See Illinois v. Gates, 103 S. Ct. 2317, 2331 (1983); Allen, 211

  F.3d at 973.

          Additionally, line-by-line scrutiny of the supporting affidavit is inappropriate, see

  United States v. Jackson, 470 F.3d 299, 306 (6th Cir. 2006) (citing United States v.

  Woosley, 361 F.3d 924, 926 (6th Cir. 2004)), and the reviewing court must limit its

  analysis to the “information presented in the four corners of the affidavit.” 4 Id. at 306;

  United States v. Frazier, 423 F.3d 526, 531 (6th Cir. 2005). When the search at issue

  occurred pursuant to a warrant, the defendant has the burden of establishing a prima facie

  case that the search was illegal. United States v. Murrie, 534 F.2d 695, 697-98 (6th Cir.

  1976); see also United States v. Franklin, 284 F. App’x 266, 275 (6th Cir. 2008) (Clay,

  J., dissenting).

          In support of her motion to suppress, Adams relies heavily on the Sixth Circuit’s

  decision in United States v. Higgins, 557 F.3d 381 (6th Cir. 2009). Higgins involved a

  warrant to search a defendant’s residence based on information obtained during a traffic

  stop. Id. at 385. The affidavit at issue, set out here because of Adams’s parallel

  arguments, read as follows:

          On September 9, 2005, Sgt. Carneal received information from the
          Henderson Police Department (Chester County) regarding a traffic stop
          conducted in that jurisdiction in which Officer Phil Willis of the
  4
    The Government’s responsive pleading references the underlying search warrants and
  supporting affidavits for Jones’s person, residence, and vehicle, and the Government
  attached the Jones warrant documents to its brief. See DE #58; DE #58-1. Because the
  Court is reviewing the sufficiency of the evidence supporting probable cause to search
  Adams and her residence, however, the Court does not consider the Jones warrant
  documents, or the Government’s arguments regarding same in the probable cause
  calculus. See Frazier, 423 F.3d at 531; see also infra note 7 regarding Leon.

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         Henderson Police Department recovered a large amount of cocaine and
         cocaine base. Officer Willis stated that he stopped a suspect for driving
         under the influence. Officer Willis informed Sgt. Carneal that the suspect
         had approximately 15 grams of powder cocaine, along with 26 grams of
         cocaine base. (Both substances field tested positive for cocaine). The
         suspect also had two additional passengers in the vehicle. All three
         individuals were separated and interviewed separately at the Chester
         County Sheriff’s Department. The driver of the vehicle, whose name has
         been disclosed to the Judge, stated he picked up the cocaine from a
         location in Madison County and gave an address of 1336 Campbell Street,
         Apartment 5, Jackson, Tennessee, as the pick up location for the narcotics.
         He also identified the person selling the narcotics as Oliver Higgins. This
         information was corroborated by both passengers of the vehicle who stated
         they rode with the driver to the Campbell Street location. Officers from
         Metro Narcotics did transport the driver of the vehicle to the Campbell
         Street address to confirm the exact location of the transaction. Officers
         with the Metro Narcotics Unit corroborated the address given by the driver
         of the vehicle, along with the description of a motorcycle which belonged
         to Oliver Higgins. Officers with Metro Narcotics did identify the
         motorcycle as belonging to Oliver Higgins and which was located at 1336
         Campbell Street, Apartment 5, Jackson, Tennessee. The driver stated he
         had purchased narcotics from this location previously and had purchased
         the cocaine in his vehicle on September 9, 2005 from Oliver Higgins. A
         check of the criminal history of Oliver Higgins showed two prior felony
         convictions for narcotics trafficking in Hardin County, Tennessee, in 1990
         and 1998.

  Id.

         The Sixth Circuit (in a 2-1 decision) found that, under the totality of the

  circumstances, the affidavit did not establish probable cause to search Higgins’s

  apartment. Id. at 390. In doing so, the Court first voiced concerns about the sufficiency

  of the information provided regarding the informant’s reliability. Id. at 389-90; see id. at

  389 (“When a search warrant issues based on an informant’s tip, that informant’s

  ‘“veracity,” “reliability,” and “basis of knowledge” are all highly relevant,’ but are not

  ‘separate and independent requirements to be rigidly exacted in every case.’”) (quoting

  Gates, 103 S. Ct. at 2328). The Court noted that the “affidavit did not attest to the

  informant’s reliability.” Id. at 389. The Court recognized the Supreme Court’s holding


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  that “‘[a]dmissions of crime, like admissions against proprietary interests, carry their own

  indicia of credibility—sufficient at least to support a finding of probable cause to

  search.’” Id. (quoting United States v. Harris, 91 S. Ct. 2075, 2082 (1971)). But, the

  Court explained that the Sixth Circuit, in considering Harris, has held that an admission

  against penal interest, while significant, is not always a conclusive reason for crediting

  the statements of an informant. Id. (citing Armour v. Salisbury, 492 F.2d 1032, 1035 (6th

  Cir. 1974)). According to the Higgins Court, “the fact that the informant was known to

  the affiant and issuing magistrate and admitted a crime does not alone provide probable

  cause.” Id. at 390.

         The Court went on to find that the affidavit provided insufficient corroborating

  information “to reinforce the informant’s assertions.” Id. The Court noted that “[t]he

  affidavit states that the other passengers in the car confirmed the informant’s statement,

  but it does not say whether they did so unprompted or if the police asked them whether

  the drugs had come from Higgins’s apartment.” Id. The Court further noted that “[t]he

  affidavit states that the police corroborated the fact that Higgins lived at the stated

  location, owned the motorcycle parked outside, and had a drug-related criminal history,

  but none of these facts supports the informant’s assertion that he had purchased drugs

  from Higgins at this location the previous day.” Id.

         The Court also found that the Higgins search warrant affidavit failed to “establish

  the necessary ‘nexus between the place to be searched and the evidence sought.’” Id.

  (quoting Van Shutters, 163 F.3d at 336-37). The Court explained that the “affidavit does

  not assert that the informant had been inside Higgins’s apartment, that he had ever seen




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  drugs or other evidence inside Higgins’s apartment, or that he had seen any evidence of a

  crime other than the one that occurred when Higgins allegedly sold him drugs.”5 Id.

         Adams argues that the affidavit in her case is a “carbon copy” of the affidavit in

  Higgins and therefore is “woefully insufficient” to support the issuance of a search

  warrant. DE #49-1 at 6. In particular, Adams argues that, as in Higgins, the affidavit in

  her case does not attest to the informant’s reliability, contains insufficient information to

  corroborate the informant’s statements, and fails to establish a nexus between the

  evidence sought and the place to be searched. Id. at 5-6. Adams notes only “two main

  differences” between her case and the Higgins case—her lack of a prior felony record and

  the fact that the affiant observed Jones, the informant, at her apartment complex. Id. at 6.

  Adams contends, however, that these differences are “largely irrelevant.” Id.

         Though Higgins has some creditable parallels, the Court must disagree. The

  instant affidavit clearly is distinguishable from the affidavit in Higgins. The relevant

  distinguishing facts, set forth in the affidavit, are as follows: (1) Detective Curtsinger, the

  affiant, actually observed Jones at the apartment complex where Defendant lives or lived,

  and Jones remained at the complex for only approximately five minutes; (2) Detective

  Curtsinger observed Jones leave the apartment complex and travel directly to his

  residence, where waiting law enforcement searched him and recovered an ounce of

  heroin from his jacket pocket; (3) Jones informed police that the drug transaction

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    In some ways, this seems the very type of hypertechnical review Gates blocked. The
  Higgins Court, e.g., parses the corroboration from the passengers with cross-examination
  type scrutiny. The issuing judge knew, per the affidavit, that the passengers had
  separately and independently corroborated the source’s information. Further, the
  affidavit easily would have supported an inference that the informant got drugs from
  within the described site—he designated a specific apartment as the “pick up location.”
  See also Higgins, 557 F.3d at 401 (Kethledge, J., concurring) (enumerating five pieces of
  evidence that support a probable cause finding in the case).

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  occurred just prior to his arrest inside Defendant’s apartment; and (4) Jones provided law

  enforcement with a physical description of Defendant, and Jones then identified Adams

  in a photo. These statements in the affidavit provided corroboration for Jones’s story that

  simply was not present in Higgins.6 Curtsinger’s observation of Jones at Defendant’s

  apartment complex, and the temporal proximity between that observation and the

  recovery of heroin from Jones’s person, supported Jones’s assertion that he had just

  purchased drugs from Adams on the day in question. See Higgins, 557 F.3d at 390. The

  same observations, and, more significantly, Jones’s statement that the drug transaction

  took place inside Defendant’s residence, established a nexus between the evidence sought

  and the place to be searched. See id.

         The issuing state judge undoubtedly had a substantial basis for finding probable

  cause and did not act arbitrarily. A police veteran (of 11 years) made the application.

  Curtsinger monitored Jones’s movement, placing him at the target complex for but five

  minutes (inferentially, enough time for a quick drug buy). Curtsinger then located heroin

  on Jones, at his home, after Jones travelled directly from Adams’s apartment complex to

  the site of contact. Jones immediately cooperated and implicated himself (enhancing his

  own credibility) beyond the single ounce found—Jones confirmed long-term heroin

  dealing. Jones credibly described both the source and the source location, as

  corroborated through objective means. Jones had been inside the Adams apartment, and

  6
    As in Higgins, law enforcement drove the informant to the apartment complex, where
  he pointed out Defendant’s apartment and vehicle. Law enforcement confirmed that
  Defendant claimed the apartment identified by Jones as her address. Law enforcement
  further confirmed that the vehicle identified by Jones was registered to Adams. These
  facts clearly provide support for the state judge’s probable cause finding. Because they
  are similar to the facts in Higgins, however, the Court does not discuss them in the body
  of the recommendation, instead focusing on the facts that distinguish Adams’s case from
  Higgins.

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  he provided details (including, e.g., that kids were around during the deal). He had been

  to “Aliya’s” before, for arguably the same purpose, and he immediately, without

  prompting, led police back to the place and person from which he had just acquired the

  contraband on the day in question. If Higgins properly sets the probable cause bar in a

  case of this nature, the affidavit here is well above that bar. The constellation of

  circumstances surely combines to yield a fair probability that Adams’s apartment would

  contain contraband. See, e.g., United States v. Dyer, 580 F.3d 386, 392 (6th Cir. 2009)

  (“Because the informant witnessed the illegal activity on the premises searched and was

  known to the officer writing the affidavit, there were sufficient indicia of reliability

  without substantial independent police corroboration.”).

         In short, under the totality of the circumstances, and reviewing only the four

  corners of the subject affidavit, the Court finds that probable cause supported the warrant

  to search Defendant and her property. The information in the affidavit gave the issuing

  judge a substantial basis for concluding that evidence of illegal drug activity would be

  located in Defendant’s residence and/or on her person.

         B.      Defendant’s Statements

         Adams asks the Court to suppress incriminating statements she made to law

  enforcement solely on the ground that the statements resulted directly from the allegedly

  unconstitutional search discussed above. Because the Court finds that probable cause

  supported the search warrant, there correspondingly is no basis to suppress Defendant’s

  incriminating statements as fruit of the poisonous tree. See United States v. Smith, 386

  F.3d 753, 763 (6th Cir. 2004) (“Under the fruit of the poisonous tree doctrine, all

  evidence derived from the exploitation of an illegal search or seizure must be suppressed,



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  unless the government shows that there was a break in the chain of events sufficient to

  refute the inference that the evidence was a product of the constitutional violation.”)

  (citation omitted).

         C.      Exclusionary Rule and Good Faith

         Even if probable cause did not support the warrant to search Defendant’s person

  and home, the exclusionary rule here would not apply to bar admission of the evidence at

  trial. The Supreme Court has repeatedly stated that suppression is not an automatic result

  of a Fourth Amendment violation. See Herring v. United States, 129 S. Ct. 695, 700

  (2009) (“The fact that a Fourth Amendment violation occurred—i.e., that a search or

  arrest was unreasonable—does not necessarily mean that the exclusionary rule applies.”)

  (citing Gates, 103 S. Ct. at 2324); see also United States v. Master, 614 F.3d 236, 242

  (6th Cir. 2010). Here, the parties discuss application of the exclusionary rule in terms of

  Leon, the decision in which the Supreme Court articulated a good faith exception to the

  exclusionary rule. See Leon, 104 S. Ct. at 3420-21. Specifically, the Court held that

  suppression is not an appropriate remedy where police conduct a search in good faith

  pursuant to a warrant later declared invalid, except in the following circumstances: (1)

  where the issuing judge was “misled by information in an affidavit that the affiant knew

  was false or would have known was false except for his reckless disregard of the truth”;

  (2) where the issuing judge wholly abandoned his judicial role and acted merely as a

  rubber stamp for the police; (3) where the affidavit is so lacking in indicia of probable

  cause that official belief in its existence is entirely unreasonable; or (4) where the warrant

  is “so facially deficient—i.e., in failing to particularize the place to be searched or the

  things to be seized—that the executing officers cannot reasonably presume it to be valid.”



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  Id. at 3421. Adams calls the application “bare bones” and seeks to avoid Leon warrant

  validation.

          Although the parties reference Leon’s standards, in recent decisions the Supreme

  Court has refined its analysis to broaden Leon’s application. See United States v. Davis,

  690 F.3d 226, 251-53 (4th Cir. 2012); Master, 614 F.3d at 241-42. In Davis v. United

  States, 131 S. Ct. 2419, 2426 (2011), for example, the Supreme Court explained that

  “[t]he [exclusionary] rule’s sole purpose . . . is to deter future Fourth Amendment

  violations.” Thus, according to the Court, “[w]here suppression fails to yield

  ‘appreciable deterrence,’ exclusion is ‘clearly . . . unwarranted.’” Id. at 2426-27 (citing

  United States v. Janis, 96 S. Ct. 3021, 3032 (1976)). The Court further explained that

  while “[r]eal deterrent value is a ‘necessary condition for exclusion,’ . . . it is not ‘a

  sufficient’ one.” Id. at 2427 (citing Hudson v. Michigan, 126 S. Ct. 2159, 2166 (2006)).

  The Court noted that exclusion exacts substantial social costs, as it “almost always

  requires courts to ignore reliable, trustworthy evidence . . . . And its bottom-line effect, in

  many cases, is to suppress the truth and set the criminal loose in the community without

  punishment.” Id. (internal citation omitted). Accordingly, the Court held that “[f]or

  exclusion to be appropriate, the deterrence benefits of suppression must outweigh its

  heavy costs.” Id. In doing so, as recognized by the Sixth Circuit, the Supreme Court has

  “effectively created a balancing test” for determining whether evidence must be

  suppressed as a result of a Fourth Amendment violation. Master, 614 F.3d at 243; United

  States v. Fugate, 499 F. App’x 514, 519 (6th Cir. 2012).

          In considering the deterrent benefits of exclusion, the Supreme Court has directed

  lower courts to focus on the culpability of the law enforcement conduct at issue. Davis,



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  131 S. Ct. at 2427 (citing Herring, 129 S. Ct. at 701). Where the police have acted with

  “‘deliberate,’ ‘reckless,’ or ‘grossly negligent’ disregard for Fourth Amendment rights,

  the deterrent value of exclusion is strong and tends to outweigh the resulting costs.” Id.

  (citing Herring, 129 S. Ct. at 702); see also Herring, 129 S. Ct. at 702 (“[T]he

  exclusionary rule serves to deter deliberate, reckless, or grossly negligent conduct, or in

  some circumstances recurring or systemic negligence.”). Where police “conduct involves

  only simple, ‘isolated’ negligence,” Davis, 131 S. Ct. at 2427-28 (citing Herring, 129 S.

  Ct. at 698), however, or where police have acted “with an objectively ‘reasonable good-

  faith belief’ that their conduct is lawful,” id. at 2427 (citing Leon, 104 S. Ct. at 3413), the

  remedy of exclusion is not warranted. Id. at 2427-28. As succinctly summarized by the

  Supreme Court in Herring, “To trigger the exclusionary rule, police conduct must be

  sufficiently deliberate that exclusion can meaningfully deter it, and sufficiently culpable

  that such deterrence is worth the price paid by the justice system.” 129 S. Ct. at 702.

         With respect to the search of Adams’s person and property, there is nothing in the

  record to suggest that law enforcement acted with deliberate, reckless, or grossly

  negligent disregard for Fourth Amendment rights.7 Although Detective Curtsinger’s

  affidavit may have been similar to the affidavit rejected by the Sixth Circuit in Higgins,

  there were critical additional and distinguishing facts such that an objective officer could
  7
    The “four corners” issue is a closer one in the Leon context. The Sixth Circuit allows a
  reviewing court to consider more than the four corners ambit. Per Frazier, “a court
  reviewing an officer’s good faith under Leon may look beyond the four corners of the
  warrant affidavits to information that was known to the officer and revealed to the issuing
  magistrate.” Frazier, 423 F.3d at 535-36. Here, the Jones warrant group, issued the day
  before, involved the same applicant and the same issuing judicial officer. The Adams
  warrant application further mentioned (without explicitly incorporating) the Jones search
  warrant, and did name Jones. The Court does not rely on consideration of the Jones
  materials but does believe this is a scenario where Frazier likely would allow
  consideration. Because the Jones materials are not integral to a good faith finding,
  however, the Court takes the issue no further.

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  believe, reasonably, that the Adams affidavit supported a probable cause finding (and,

  indeed, this Court finds that the affidavit supported a determination of probable cause).

  Thus, suppressing the evidence obtained as a result of the search would have little to no

  deterrent value, and any deterrent value does not here outweigh the substantial costs of

  exclusion. Under the circumstances, the police conduct at issue was neither sufficiently

  deliberate nor sufficiently culpable to render the remedy of suppression worth its costs to

  the criminal justice system and society at large. The Leon threshold is, as Higgins noted,

  “a less demanding showing than the ‘substantial basis’ . . . required to prove the existence

  of probable cause.” Higgins, 557 F.3d at 391 (quoting Carpenter, 360 F.3d at 595). On a

  weaker application, Higgins validated the subject search per Leon; here, a much stronger

  affidavit—one including intra-apartment observations, immediacy between purchase and

  police contact, and police confirmation that Jones was at Adams’s complex minutes

  before discovery of the heroin—most certainly meets the objective reasonableness

  requirements of Leon and avoids suppression.

  III.   Recommendation

         For the reasons stated, the Court RECOMMENDS that the District Judge DENY

  Adams’s pending motion to suppress (DE #49).

         The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning

  this recommendation, issued under subsection (B) of that statute. In accordance with the

  District Judge’s Order, any objections must be filed in advance of July 8, 2013, the

  pretrial conference date. See DE #66. The parties should consult the aforementioned

  statute and Federal Rule of Criminal Procedure 59(b) for specific appeal rights and

  mechanics. Failure to object in accordance with the rule waives a party’s right to review.



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        This the 3rd day of July, 2013.




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